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                EXHIBIT 1
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         EXPERT REPORT OF DR. ATANU SAHA
                              February 12, 2021



       In Re: United States v. Petit & Taylor, 19-cr-850 (JSR) (S.D.N.Y.)
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I.      INTRODUCTION


A.      QUALIFICATIONS

        I am a Partner at StoneTurn Group, LLP (“StoneTurn”) an international economic research
and consulting firm. I have over 25 years of experience in the application of economics and finance
to complex business issues. I have served as an expert witness in matters involving securities
fraud, market manipulation, ERISA and 10b-5 claims, and my research on event-study analysis
and loss causation issues has been cited by the U.S. Court of Appeals for the 11th Circuit.

        I have provided expert testimony in numerous prior engagements for both plaintiffs and
defendants, wherein I have undertaken economic analyses in a variety of industries. My testimony
has been accepted in State and Federal Courts, Delaware Chancery, AAA, and in international
arbitration venues. In many prior engagements, in computing damages and shareholder losses, I
have undertaken event-study analysis.

        I am the author of nearly 50 peer-reviewed journal articles on a wide range of topics,
including securities pricing and limitations of event-studies in the presence of confounding
information. My financial research has been cited in scores of publications, including The Wall
Street Journal, The Economist, and The New York Times. I am a recipient of the Graham and Dodd
Award, which recognizes excellence in financial research.

        Prior to joining StoneTurn, I held senior positions at a number of economic consulting
firms, including Analysis Group and Compass Lexecon. Earlier in my career, I cofounded Data
Science Partners, an economic consulting firm specializing in data analytics. Additionally, I was
a tenure-track professor for four years at Texas A&M University, where I taught Ph.D.-level
courses in econometrics and applied economics. I hold a Ph.D. from the University of California,
Davis, with applied economics and econometrics as my fields of specialization. My curriculum
vitae, including a list of cases in which I have testified as an expert witness at trial or by deposition,
is attached as Appendix A to this report.




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B.     CASE BACKGROUND AND ASSIGNMENT

       Parker H. Petit (“Mr. Petit”) and William Taylor (“Mr. Taylor”) are former executives of
MiMedx Group Inc. (“MiMedx”), a publicly traded company. On November 19, 2020, a jury
found Mr. Taylor guilty of conspiracy and Mr. Petit guilty of securities fraud; they were acquitted
of other charges. I have been asked by counsel for Mr. Petit and Mr. Taylor to:

       (a) critically review the Expert Report of Dr. Artur Minkin dated February 9, 2021 (“Dr.
       Minkin’s Report”);

       (b) estimate the loss, if any, to MiMedx shareholders from the inflated revenue in 2015;

       (c) review and summarize the evidence proffered at trial regarding the gains realized by
       Mr. Petit and Mr. Taylor from cash bonuses received as a result of the inflated revenue.



C.     INFORMATION RELIED ON

       In undertaking the foregoing assignments, I have relied on my education, training, and
professional experience; additionally, I and others working under my supervision, have reviewed
and analyzed information from a variety of sources, including documents produced in discovery
in this matter. My report also relies on information obtained through independent research,
industry reports, companies’ websites, peer-reviewed articles, and other publicly available sources.
The information relied on for this report is listed in Appendix B.
       StoneTurn is being compensated for my time, as well as for the time of others who have
assisted me. StoneTurn’s compensation is not dependent on the outcome of this matter.



D.     DR. MINKIN’S ANALYSIS

       Dr. Minkin’s analysis to estimate shareholder loss can be summarized as follows:

       •       Dr. Minkin uses an event study analysis to compute a market and industry adjusted
       price drop of MiMedx’s stock on February 20, 2018; he finds this price drop to be $5.62.
       [Dr. Minkin’s Report, page 3, paragraph 9]

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     •       To allocate the portion of the $5.62 price drop attributable to the conduct at issue,
     Dr. Minkin first takes the ratio of MiMedx’s revenue inflation at issue of $8.26M to the
     total revenue inflation of $70.7M for the years 2014-2017; this ratio is 11.7%. He then
     opines that 11.7% of the price drop on February 20, 2018 is attributable to the conduct at
     issue and arrives at a per share loss figure of $0.65 (=11.7% of $5.62). [Dr. Minkin’s
     Report, Exhibit 3]
     •       Finally, Dr. Minkin multiplies this per-share loss of $0.65 by the total net purchases
     of MiMedx stock by institutional shareholders between 2016 and 2018 (53.2M shares) to
     arrive at the aggregate shareholder harm figure of $34.6 M (=$0.65 × 53.2M). [Dr. Minkin’s
     Report, Exhibit 5]



E.   SUMMARY OF CONCLUSIONS

     1. There are three key problems with Dr. Minkin’s analysis. First, he incorrectly assumes
         a one-to-one relationship between revenue inflation and MiMedx’s share price
         inflation.   Second, Dr. Minkin fails to account for the confounding factors that
         contributed to MiMedx’s stock price drop on February 20, 2018, which he uses as the
         relevant disclosure date. Third, Dr. Minkin chooses the incorrect date for the relevant
         corrective disclosure. I elaborate on each of these problems below.


     2. Dr. Minkin’s apportionment of MiMedx’s price drop on February 20, 2018 to the
         revenue inflation at issue hinges on a key assumption: that there is a positive and one-
         to-one relationship between stock price inflation and revenue inflation; in other words,
         a certain percentage increase (or decrease) in revenue translates to the corresponding
         percentage increase (or decrease) in share prices. My analysis of MiMedx’s stock price
         response on various revenue announcement days suggests that this assumption is
         demonstrably false. Using an event study analysis for MiMedx’s stock, I show that not
         only is the relationship between revenue-related events and stock price not one-to-one
         but the relationship, on average, is negative. In other words, positive revenue news is
         generally accompanied by negative price reaction (after controlling for market and

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            industry effects).      Specifically, in more than 68% of the quarterly revenue
            announcement days (within the five-year period, 2013-2017), the direction of
            MiMedx’s price movement is inconsistent with the direction of revenue news. The
            inconsistency reaches 79% of the revenue-related event days if one were to consider
            only the subset of days with statistically significant price moves. Absence of a positive
            association between revenue-related events and price reaction is not unique to
            MiMedx’s stock; this phenomenon is well documented for numerous publicly traded
            companies in various academic studies. Thus, Dr. Minkin’s key assumption that the
            revenue inflation in 2015 led to a commensurate inflation in MiMedx’s stock price is
            unfounded. Not surprisingly, Dr. Minkin does not cite any academic study nor does he
            undertake any empirical analysis to support this critical assumption for his shareholder
            loss analysis.


        3. In using MiMedx’s stock price loss on February 20, 2018, Dr. Minkin fails to account
            for the various factors that contributed to the price drop that day. One such key factor
            was that day’s announcement-induced elevated uncertainty about the company’s
            viability and overall revenue. It is important to note, on that day neither the revenue
            inflation of $8.26M for 2015 nor the $70.7M inflation for 2014-17 was announced; the
            only pieces of news that were released by MiMedx on that day were that it was
            postponing the release of its 2017 financials and that the “Audit Committee of
            MiMedx’s Board of Directors has engaged independent legal and accounting advisers
            to conduct an internal investigation into current and prior-period matters relating to
            allegations regarding certain sales and distribution practices.” 1            This disclosure
            provided little clarity to the marketplace; instead it created considerable uncertainty
            about MiMedx’s viability as an ongoing business, especially in light of the persistent
            negative commentaries by short-sellers in the preceding years, which essentially
            characterized MiMedx as a house of cards, with little or no real revenue. In fact, one



1
 MiMedx Press Release, “MiMedx Postpones Release of its Fourth Quarter and Fiscal Year 2017 Financial
Results,” PR Newswire, February 20, 2018, https://www.prnewswire.com/news-releases/mimedx-postpones-release-
of-its-fourth-quarter-and-fiscal-year-2017-financial-results-300601124.html.
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            influential short seller wrote on September 20, 2017: “Viceroy believes MiMedx is
            valued at $0.” 2 The market’s uncertainty about MiMedx’s business was evidenced by
            analyst community’s commentaries in the period soon after the February 20, 2018
            announcement. It was also reflected in MiMedx’s market cap loss on that single-day:
            it exceeded MiMedx’s entire revenue for the years 2016-2017, which suggests that the
            stock market was skeptical about the existence of any meaningful revenue for the
            company. When this uncertainty was resolved by the restated revenue announcement
            on March 17, 2020, MiMedx’s share prices rebounded, gaining nearly 120% by year-
            end. In fact, by December 2020, MiMedx was trading at prices higher than the average
            price during the period at issue, i.e., Q2-Q4 of 2015.


        4. As noted above, MiMedx’s share price drop on February 20, 2018 was greatly
            accentuated by negative short-selling commentaries in the period leading up to it. The
            short sellers’ commentaries touched upon various topics beyond the conduct at issue,
            including MiMedx’s relationship with AvKARE (a MiMedx distributor not at issue),
            conduct of MiMedx employees, the company’s regulatory, compliance, and legal
            issues, etc. Prior to February 20, 2018, the short interest (i.e., percent of the equity
            float that is shorted) for MiMedx’s stock was extremely high, which made the stock
            prone to a crash with the slightest hint of any bad news. It is well documented in the
            academic literature that heavily shorted stocks are typically more prone to crashes.
            Furthermore, the pronounced rise in MiMedx’s stock before February 20, 2018 which
            exceeded 130% (from a low of $7.68 on February 2, 2017 to a high of $17.96 on
            January 29, 2018), was induced, in part, by a short squeeze, that is, short-sellers having
            to limit their losses by buying shares to close out their short positions causing share
            prices to rise further. In other words, the large stock price drop on February 20, 2018
            was, in part, caused by the rapid price rise that preceded it. Dr. Minkin makes no
            attempt to disentangle the effect of the revenue inflation at issue (i.e., $8.26M) from



2
 “MiMedx’s Employment of Kickback & Bribery Scheme Inducers Makes It Uninvestable,” Viceroy Research
Group, September 20, 2017, https://viceroyresearch.org/2017/09/20/mimedxs-nasdaqmdxg-employment-of-
kickback-bribery-scheme-inducers-makes-it-uninvestable/.
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             the effects of these other factors that contributed to the stock price drop on February
             20, 2018. Admittedly it is unclear whether it is at all possible to quantify which portion
             of the price drop on February 20, 2018 is attributable to the revenue inflation at issue
             (especially because it was not even announced on that day) versus other factors. As
             noted above, these factors included:

             •    the uncertainty about whether MiMedx had any revenue, especially against the
                  backdrop of short sellers’ persistent negative commentaries;
             •    the short sellers’ commentaries regarding many issues unrelated to revenue
                  inflation of $8.26M in 2015;
             •    the high volatility of MiMedx’s stock price induced by the huge short interest;
             •    the enormous run-up in MiMedx’s stock caused by a short squeeze.


         5. Dr. Minkin incorrectly chooses February 20, 2018 as the relevant ‘corrective
             disclosure’ date. His loss calculation is based on the revenue inflation of $70.7M for
             the years 2014-2017; however, this revenue inflation was not known on February 20,
             2018 (the date he chose to estimate the share price impact); it was disclosed to the
             marketplace on March 17, 2020. 3 He does not make any attempt to examine MiMedx's
             price response in the period after March 17, 2020.



         6. While Dr. Minkin’s loss calculation is based on several erroneous assumptions, as
             discussed above, fixing only one error (choice of the erroneous date) but leaving all his
             other erroneous assumptions unchanged reduces the shareholder loss figure from over
             $34.6M to $192.8K.



3
  The restated annual revenues for 2014 and 2015, contained in MiMedx Group, Inc. Form10-K filed on March 17,
2020, are marked “unaudited” in the 10-K (p. 52); furthermore, the 10-K has the following statements: 1) “the
Company recovered the majority of its billings made between 2012 and 2017 with insignificant write-offs recorded;
however, a significant amount to these billings were collected well after payment was due under the contractual
terms” (p. F-27) ; and 2) “a summary of the impact of the Restatement on the Company’s consolidated statement of
operations includes, but is not limited to, the following: the timing of revenue recognition for sales through all
distributors and direct sales to all customers.” (p. F-20). Dr. Minkin does not discuss these aspects of the 10-K in his
report.
                                                                                                                      8
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           7.   I have concluded that, in this particular matter, because of the unique circumstances
                related to the corrective disclosures, shareholder losses attributable to the conduct at
                issue cannot be determined with any degree of certainty.



           8. I have reviewed the evidence proffered at trial regarding the gains realized by Mr. Petit
                and Mr. Taylor from cash bonuses received as a result of the inflated revenue during
                2015. These gains range between $165,224 and $202,436 for Mr. Petit, and between
                $125,208 and $153,408 for Mr. Taylor.


II.        ANALYSIS

           In this section of the report, I discuss in further detail the three key problems with Dr.
Minkin’s shareholder loss analysis.           First, however, I set the stage for this discussion by
summarizing the impact of the conduct at issue on MiMedx’s 2015 revenue.



A.         THE REVENUE IMPACT OF THE CONDUCT AT ISSUE

           Dr. Minkin opines in his report, that “[d]uring the second, third, and fourth quarters of
2015, MiMedx fraudulently recognized a total of approximately $8.26 million in net revenue.” 4
In support of this statement, he references the Trial Exhibit GX-0050, proffered by Ms.
Chambarry, expert witness for the U.S. Government.

           I have reviewed this exhibit, the trial testimony of Ms. Chambarry, and the revenue
guidance provided by MiMedx in 2015. Exhibit 1A, summarizes my findings. As is evident from
this exhibit, based on the uninflated revenues for 2015 (related to the conduct at issue), MiMedx
would have missed revenue guidance only in Q3 2015 and would have met revenue guidance in
Q2 and Q4 2015, respectively.



4
    Dr. Minkin’s Report, p. 2, paragraph 7.
                                                                                                      9
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       Exhibit 1B summarizes the figures shown in Exhibit 1A in a tabular form. In this table,
the relevant figures of $51.84M for Q4 2015 reported revenue and the uninflated revenue figure
of $51.77M for the same quarter are shown with outside borders as they are the exact figures to
which Ms. Chambarry testified on cross-examination. The relevant portions of her testimony are
shown after Exhibit 1B.




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Exhibit 1B. Estimated Impact of 2015 Revenue Inflation

                                                              Revenue       Lower          Revenue
     Quarter at Issue         Reported          Inflation     Without      Bound of        Guidance
                                                              Inflation    Guidance        Surprise
          Q2 2015            $45,679,000        $1,347,854   $44,331,146   $44,000,000        0.8%
          Q3 2015            $49,015,000        $6,850,160   $42,164,840   $47,000,000       -10.3%
          Q4 2015            $51,835,000         $63,821     $51,771,179   $49,500,000        4.6%


                            TOTAL               $8,261,835                                    -4.9%


Source: Government Exhibit 50, 19 Cr. (850) JSR, pp. 1-20 and Government Witness Carina Chambarry Trial Testimony.


Relevant excerpts from Ms. Chambarry trial testimony:

           Q. So, 48.8 plus 1.35, which was payment from SLR, plus 225,000 from Stability,
           plus 1.348 million in payments, write offs and discounts from CPM, that would be
           51.771 million?
           A. Yes, it would be.
           Q. So, on this chart, if you included all of those payments, write offs and discounts
           that all actually happened in the fourth quarter, then the green number would be up,
           so it would be just below the blue number, 51,835,000?
           A. Yes, it would be.
           Source: Chambarry Testimony, p. 2160, lines 11-22.



           Regarding the conduct at issue, Dr. Minkin makes the following two errors in his analysis:
(a) he ignores the year-end adjustment for Q4 2015, 5 which contradicts the evidence from Ms.
Chambarry’s trial testimony; and (b) he states that MiMedx would have “substantially” missed the
revenue guidance for the third and fourth quarters of 2015. 6

           While in his report Dr. Minkin cites the total impact of $8.26 million as a result of the
alleged conduct, he does not acknowledge the evidence proffered at trial that based on the




5
    Dr. Minkin’s Report, p. 10, paragraph 24.
6
    Dr. Minkin’s Report, p. 11, paragraph 25.
                                                                                                                11
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uninflated revenue figures, MiMedx would have missed revenue guidance only in Q3 2015 and
met guidance in Q2 and Q4 of the same year. The importance of this fact will become apparent
as I discuss the relationship between revenue guidance beat/miss and MiMedx’s stock price
response. As I demonstrate next, the relationship between quarterly revenue guidance beat/miss
in a single quarter and stock price response is generally not one-to-one and thus, it would be
erroneous to conclude that MiMedx share prices would have necessarily dropped if it had missed
revenue guidance for a single quarter in 2015.



B.      REVENUE-RELATED NEWS AND STOCK PRICE REACTION

        A key assumption in Dr. Minkin’s shareholder loss analysis is that there is a positive one-
to-one relationship between MiMedx’s revenue inflation and its stock price, in other words, a
certain percentage increase (or decrease) in revenue translates to the same percentage increase (or
decrease) in share prices. Using an event study analysis for MiMedx’s stock price response on
various revenue announcement days, I show that this assumption is demonstrably false.



Methodology for the Event-study Analysis

        An event study is a standard methodology applied by financial economists to analyze the
stock price reaction to corporate events or news. “An event study is a regression analysis that
measures the effect of an event, such as a firm’s earnings announcement, on a firm’s stock price.
In such an analysis, one must, of course, control for factors other than the event that may also
simultaneously affect the stock price.” 7 By applying an event study, one attempts to filter out the
portion of the stock price movement that is unrelated to the event at issue, which includes the
effects of the changes in the overall market and industry. Thus, through an event study one can
quantify the net effect of an event or news release, that is, quantify the market-and-industry
adjusted stock price change in response to an event. In the interest of brevity, I will call the



7
 For a description of event study methodology in the context of securities litigation see: Allen Ferrell and Atanu
Saha, “The Loss Causation Requirement for Rule 10-b Causes of Action: The Implications of Dura Pharmaceuticals,
Inc. v. Broudo” The Business Lawyer, Vol. 63, No. 1 (2007), pp. 163-186.
                                                                                                               12
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‘market-and-industry adjusted stock price change’ simply as the ‘adjusted price change’
throughout the report.

        For the event study analysis of MiMedx’s stock, I have used data only for the period 2013
through 2017; this excludes the highly volatile period following MiMedx’s announcement on
February 20, 2018. 8 I undertook the following steps to estimate the adjusted MiMedx stock price
change in response to revenue-related announcements from 2013 through 2017:

•   Compiled daily prices and returns for MiMedx and the S&P 500 index.
•   Constructed an industry index based on (equally weighted) 30 Bloomberg-identified
    comparable companies in the same industry and with a similar market cap as MiMedx. These
    companies are listed in Appendix C, Table 1.
•   Identified 19 quarterly revenue announcements dates within the period Q1 2013 through Q3
    2017. In identifying these dates, I used the next trading day as the relevant date if the news
    announcement came after 4PM ET, that is, after the market’s close.
•   Using a regression analysis, I estimated a market and industry-adjusted price change for
    MiMedx’s stock on each of these 19 event days.



MiMedx Price Response on Revenue Announcement Days in 2013-17

        For each of the 19 revenue announcement days, I also computed the guidance surprise by
comparing the announced quarterly revenue on that day with the most most-current revenue
guidance for that quarter provided by MiMedx. The difference between reported and guided
revenue was then converted to a percentage amount to derive the ‘Revenue Guidance Surprise %’,
shown on the horizontal axis of Exhibit 2A. The vertical axis of Exhibit 2A shows the adjusted
MiMedx price change % on those 19 dates.




8
 This choice of the estimation data period was made because MiMedx did not provide revenue guidance after Q3
2017 until Q2 2020.
                                                                                                               13
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       If there were a generally positive relationship between revenue guidance surprise and
MiMedx’s stock price reaction (after controlling for market and industry factors), one would have
seen the dots in Exhibit 2A to mostly reside in the North-East and South-West quadrants (as are
the light brown dots). On the contrary, we find that the majority of the dots (13 out of the 19)
reside in the South-East quadrant (the red dots), implying that a positive revenue surprise is
generally associated with a negative price change for MiMedx’s stock. If Dr. Minkin’s assumption
were true, we should see very few dots falling into this inconsistent territory.

       In Exhibit 2B, I present the evidence in the previous exhibit in a tabular form, which allows
me to quantify the relevant information regarding the relationship between revenue guidance
surprise and adjusted price change for MiMedx’s stock.




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Exhibit 2B. MiMedx Revenue Guidance Surprise and Price Response, Q1 2013 – Q3 2017

                                      Quarterly Revenue
                                         ($ Millions)
                                                                                           Ratio of
                                                                              Adjusted                                           Price Change
Announcement                                        Guidance  Guidance                      Price              Statistically
            1         Period       Reported                                     Price                                           Consistent with
     Date                                         Lower Bound Surprise                    Reaction to          Significant?
                                                                               Change                                             Surprise?
                                                                                           Surprise
   10/10/2017          Q3 17         $84.57           $79.00          6.6%       4.8%         0.73                  No                Yes
   7/27/2017           Q2 17         $76.41           $73.50          3.8%       -1.4%        (0.37)                No                No
   4/13/2017           Q1 17         $72.61           $69.50          4.3%        8.3%         1.95                 Yes               Yes
   2/23/2017           Q4 16         $69.88           $69.40          0.7%       -4.0%        (5.89)                No                No
   10/10/2016          Q3 16         $64.43           $62.00          3.8%        2.4%         0.64                 No                Yes
   7/12/2016           Q2 16         $57.34           $55.70          2.9%       -0.5%        (0.16)                No                No
   4/11/2016           Q1 16         $53.37           $55.50         -4.0%       -8.4%         2.11                 Yes               Yes
   1/11/2016           Q4 15         $51.84           $49.50          4.5%        0.0%        (0.00)                No                No
   10/29/2015          Q3 15         $49.02           $47.00          4.1%      -26.2%        (6.36)                Yes               No
   7/30/2015           Q2 15         $45.68           $44.00          3.7%      -10.5%        (2.87)                Yes               No
   4/14/2015           Q1 15         $40.77           $40.00          1.9%       -6.5%        (3.47)                Yes               No
   1/12/2015           Q4 14         $39.57           $37.30          5.7%       -4.7%        (0.82)                No                No
   10/30/2014          Q3 14         $33.52           $30.00         10.5%        6.7%         0.64                 Yes               Yes
   7/29/2014           Q2 14         $25.57           $24.00          6.2%       12.0%         1.95                 Yes               Yes
   4/25/2014           Q1 14         $19.56           $18.00          8.0%       -0.2%        (0.03)                No                No
   2/26/2014           Q4 13         $17.99           $15.80         12.2%       -2.7%        (0.22)                No                No
   10/30/2013          Q3 13         $16.12           $16.00          0.7%       -2.0%        (2.79)                No                No
   7/31/2013           Q2 13         $13.52           $13.50          0.1%       -1.2%       (10.88)                No                No
    5/1/2013           Q1 13         $11.56           $10.50          9.1%       -1.4%        (0.15)                No                No

                                 Average Ratio of Price Reaction to Guidance Surprise         -1.37

                                                                                                        Percent Inconsistent        68.4%
                                                                             Percent Consistent & Signif icant Price Response       21.1%

Sources: Bloomberg and MiMedx Press Releases
Notes: 1 based on the announcement dates of MiMedx press releases.




           Exhibit 2B shows, across the 19 revenue announcement days, the average ratio between
price reaction % and guidance surprise % is negative and equals -1.37. Thus, contrary to Dr.
Minkin’s unsupported assumption, empirical evidence demonstrates that not only is the
relationship between revenue guidance beat/miss and price response not one-to-one, but on
average it is negative.

           Exhibit 2B also shows that in 13 out of the 19 (68.4%) days, the price response was
inconsistent with the direction of the revenue guidance surprise. If one were to focus only on the
price responses that were statistically significant, then only in 4 out of the 19 (21.1%) days was
there a consistent and significant price response to guidance surprise. That is, for two of the six
days with a consistent response, price changes are not statistically different from zero.

           To further examine, more generally, whether revenue guidance surprise was an important
driver of MiMedx’s stock price movement, I identified 25 largest single-day stock price
                                                                                     15
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movements for MiMedx’s stock (after adjusting for market and industry factors), during the period
of 2013 through 2017.


          Exhibit 3. 25 Largest Single-Day MiMedx Stock Price Changes, 2013 - 2017


                                                                          Key Drivers for Stock Price Reaction
                                                                                     Non-Revenue
                                              Adjusted Price          Revenue
               No.            Date                          1
                                                                                       Financial       Other Events
                                                 Change               Guidance
                                                                                        Results
                1               4-Sep-13           -46.2%                                                            1
                2              29-Oct-15           -26.1%                                                            1
                3               2-Jan-15           -17.5%                                                            1
                4              13-Oct-15           -13.6%                   1
                5              14-Mar-13           -13.4%                                                            1
                6              23-Oct-17           -11.3%                                                            1
                7              21-Mar-14           -10.6%                                                            1
                8               30-Jul-15          -10.5%                                        1
                9              19-Nov-15           -10.2%                                                            1
                10             15-Mar-13           -10.0%                                                            1
                11              6-Sep-13            -9.5%                                                            1
                12               3-Oct-17           -8.8%                                                            1
                13             24-Oct-17            -8.8%                                                            1
                14             21-Oct-13             8.8%                                                            1
                15             24-Mar-15             8.9%                                                            1
                16             14-Oct-14             9.3%                                        1
                17             26-Feb-15             9.4%                   1
                18             15-Oct-14            10.5%                                        1
                19             28-Apr-17            10.8%                                        1
                20           17-Dec-15 2           11.7%                                        0.5                 0.5
                21             29-Jul-14           12.0%                                         1
                22            12-Dec-13            12.3%                                                             1
                23              1-Oct-13           12.9%                                                             1
                24            18-Mar-13            13.0%                                                             1
                25             5-Sep-13            18.0%                                                             1

                                            Percent of 25 Events           8%                  22%                  70%

          Notes:
          1
              denotes daily MDXG returns adjusted for market and industry factors over the period of 2013 - 2017.
          2
              denotes two equally-weighted events: MiMedx raises repurchase program and expects stronger earnings for FY 2016.




              Exhibit 3 lists MiMedx’s 25 largest single-day price changes, ranging from −46.2% on
September 4, 2013 to +18.0% on September 5, 2013. For these 25 days, I analyzed all the
individual events and news that drove MiMedx’s stock prices in either direction. 9 My review


9
    The event details for these 25 largest stock price movement days are listed in Appendix C, Table 2.
                                                                                                                                 16
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shows that only in two of the 25 days MiMedx’s daily stock price change was related to revenue-
related announcement. With the exception of these two days, the vast majority (70%) of the days
with largest price swings was associated with the events that were not related to revenue or
earnings announcements. Appendix C, Table 2, which lists the events on these days, shows that
MiMedx’s large stock price movements were mostly driven by product-related regulatory issues.

        The lack of an association between earnings/revenue-related news and stock price
movements is not unique to MiMedx. As I discuss next, the absence of a quantifiable relationship
between a company’s announcement of financial guidance or results and its stock price
performance is widely documented in published research.



Studies on the Absence of a Relationship Between Guidance and Returns

        A study using a survey of 4,000 companies found that while executives have high
expectations regarding the positive effects of earnings guidance, these expectations are not
supported by evidence. “Our analysis of the perceived benefits of issuing frequent earnings
guidance found no evidence that it affects valuation multiples, improves shareholder returns, or
reduces share price volatility.” 10,11 With respect to shareholder returns, the study found that “in
the year companies begin to offer guidance, their total returns to shareholders aren’t different
from those companies that don’t offer it at all.” 12 Given the lack of evidence on the usefulness
of earnings guidance, authors of the study conclude that “managers should consider whether there
is a better way to communicate with analysts and investors.” 13 This sentiment illustrates the
limited value of earnings guidance.

        Studies also document that quarterly earnings guidance has no effect on a company’s
valuation or on investor sentiment. For example, one study concludes: “[o]ur analysis of S&P 500



10
   Peggy Hsieh, Timothy Koller, and S.R. Rajan, “The Misguided Practice of Earnings Guidance,” McKinsey on
Finance, March 1, 2006, https://www.mckinsey.com/business-functions/strategy-and-corporate-finance/our-
insights/the-misguided-practice-of-earnings-guidance.
11
   Here, and throughout the report, emphases inside direct quotations have been added to highlight key facts and
information.
12
   Ibid.
13
   Ibid.
                                                                                                                   17
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constituents found no effect [of quarterly guidance] on valuation whatsoever.” 14 Moreover,
investors are skeptical of the information provided by earnings guidance:

        “First, buy-side investors (i.e. a company’s shareholders) have abandoned the view
        that short-term earnings results are especially predictive of long-term success.
        Second, investors are aware of the imprecision of short-term metrics and give
        them less weight in investment decision making. … In repeated surveys of the
        shareholder community (primarily institutional buy-side investors), earnings
        guidance given for periods of less than one year was consistently deemed
        irrelevant in evaluating a company’s future prospects.” 15


        As documented above, long term investors consider quarterly guidance as providing little,
if any, useful information, and therefore are likely to ignore it when making investment decisions.
Because of this, it is of no surprise that many academic studies find stock price reaction to earnings
guidance is, at best, ambiguous. A peer-reviewed study examining stock price movements
following management earnings forecasts documents the lack of a direct relationship between
guidance and stock prices.

        “In the post announcement period, we find a significant upward price drift for both
        good news forecasts and bad news forecasts. Combined with asymmetry in the
        initial market response, the upward post-guidance drift in stock prices is consistent
        with a reversal of an initial overreaction to managers’ bad news forecasts and a
        continuation of an initial underreaction to managers' good news forecasts … .” 16


        The authors suggest that these anomalous price movements may be due to the lack of
perceived reliability of guidance. “In other words, investors may find management forecasts to
be more ambiguous signals of future stock valuations ….” 17 Their findings “suggest that stock
prices are slow to fully impound the information in managers’ earnings forecasts” and support




14
   Ariel Fromer Babcock and Sarah Williamson, Quarterly Earnings Guidance - A Corporate relic? The Conference
Board Director Notes, March 2018, http://www.shareholderforum.com/access/Library/20180300_ConferenceBoard-
DirectorNotes.pdf.
15
   Ibid.
16
   Somnath Das, Kyonghee Kim, and Sukesh Patro, “On the anomalous stock price response to management
earnings forecasts,” Journal of Business Finance & Accounting, Vol. 39, No. 7-8, 2012, pp. 905-935.
17
   Ibid.
                                                                                                          18
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“the relative inefficiency with which investors respond to earnings-related information events such
as earnings announcements.” 18

             The general finding of the limited usefulness of earnings guidance among investors, and
the empirical evidence of little or no impact of guidance on stock price movement, provide the
backdrop for the results in the preceding subsection where I demonstrated the absence of a positive
relationship between revenue guidance surprise and MiMedx’s stock price reaction. Thus, Dr.
Minkin’s key assumption that an inflation of revenue necessarily led to a commensurate inflation
in MiMedx’s share prices is refuted by empirical evidence and is contradicted by academic
research. A logical extension of Dr. Minkin’s unsupported assumption is that a revenue guidance
miss by MiMedx would have necessarily led to a share price decline and investor losses. Next, I
examine investors’ reaction when MiMedx actually missed its revenue guidance in the first quarter
of 2016.



Shareholders’ Response to MiMedx’s Q1 2016 Revenue Guidance Miss

             As documented in Exhibit 2B, in one of the 19 quarters in the 2013-2017 period (Q1 2016),
MiMedx missed its revenue guidance by 4% and this miss was accompanied by a negative price
response. However, empirical evidence shows that institutional investors viewed the price drop
as a buying opportunity. In Exhibit 4A, I illustrate the increase in institutional holdings in the
period following MiMedx’s revenue guidance miss. While the institutional holdings dipped
slightly right after the Q1 2016 revenue announcement (from 50.9M to 48.4M), institutional
holdings recovered to the pre-announcement level of 50.9M within 28 days. In fact, in the next
two quarters after the guidance miss, institutions increased their holdings by 4.1M shares and in
the next three quarters after the guidance miss their holdings increased by 23.1M shares.

             In this context, it is instructive to note that, ClearBridge LLC, an investment advisor (whose
portfolio manager, Mr. Russell, testified for the government at the trial), increased its MiMedx
holdings from 1.75M to 2.2M shares between Q1 and Q2 of 2016; that is, ClearBridge increased




18
     Ibid.
                                                                                                        19
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its holdings of MiMedx’s stock by nearly 26% despite MiMedx’s revenue guidance miss in Q1
2016.




                                                                                      20
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        In Exhibit 4B, I show that not only did institutional holdings for MiMedx increase in the
period after the revenue guidance miss, but also the value of these holdings rose: increasing by
$69.8M over the next two quarters and by $207.9M over the next three quarters. This finding is
largely explained by the recovery of MiMedx stock prices after the initial drop right after
MiMedx’s guidance miss.

        In fact, as I discuss next, investors viewed any large stock price drop for MiMedx as a
buying opportunity, and largely as a result of investors’ ‘buy-the-dip’ behavior MiMedx share
prices recovered within a short period of time after the large drop.


Shareholders’ Response to MiMedx Stock Drops in the 2013-17 Period

        In Exhibit 5A, I list the dates and amounts of the five largest price drops for MiMedx’s
stock in the 2013-17 period; it also lists the number of days it took for MiMedx’s stock price to
fully recover and exceed the price it was trading at before the drop. This exhibit shows that the
average length of recovery time is 60 days, which is well within the 90-day window.



Exhibit 5A. Five Largest MiMedx Stock Price Drops and Their Recovery Periods, 2013 - 2017

                              MiMedx Close Prior to   MiMedx Adjusted Price        Number of Trading Days
Event No.         Date
                                  Event Date                Change                      to Recover
    1            4-Sep-13             $6.06                    -46.2%                       62
    2           29-Oct-15             $9.49                    -26.1%                       39
    3            2-Jan-15            $11.53                    -17.5%                       118
    4           13-Oct-15             $9.84                    -13.6%                       54
    5           14-Mar-13             $5.87                    -13.4%                       29

                                       Average Number of Trading Days to Recover            60




        Exhibit 5B depicts MiMedx’s stock price over the 2013-17 period, with the green vertical
line marking the date of the large drop, and the brown line denoting the recovery date.




                                                                                                       21
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       In sum, with the demonstrated absence of a positive relationship between revenue guidance
surprise and share stock price reaction for MiMedx, it is wholly unclear what the stock price drop,
if any, would have been if MiMedx had missed revenue guidance for a single quarter, Q3 2015
(but met or exceeded guidance for the second and fourth quarter of 2015). Furthermore, based on
the evidence on the investors’ observed ‘buy-the-dip’ behavior for MiMedx’s stock, it is
reasonable to postulate that even if MiMedx’s share price dropped as a result of a revenue guidance
miss in 2015, the share price would have rebounded well within the 90-day window.

       Importantly, Dr. Minkin makes no attempt to examine the price movement of MiMedx’s
stock during the period at issue; instead, he conjectures what MiMedx’s stock price inflation in
2015 was by looking at a single day’s price drop that happened nearly three years later through an
event study analysis. As I discuss next, his approach is fundamentally flawed.


                                                                                                22
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C.      THE FACTORS CONTRIBUTING TO THE PRICE DROP ON FEBRUARY 20, 2018

        Dr. Minkin uses an event study analysis to estimate the market and industry adjusted price
drop of MiMedx’s stock on February 20, 2018. While an event study can control for market and
industry factors, it is incapable of accounting for the multiple reasons (beyond the 2015 revenue
inflation at issue) that contributed to the price drop on that day. It is well established in the
academic literature that an event-study analysis is incapable of disentangling the effects of news
at issue from other contemporaneous confounding events. In what follows, I first describe the
economic literature on the limitations of event studies in the presence of confounding pieces of
news and then describe the various of factors that contributed to the large price drop on February
20, 2018.


Limitations of Event Study Analyses When There are Confounding Pieces of News

        The limitations of event study analyses in the presence of confounding factors are widely
discussed and well established in academic studies. In this subsection, I only reference a select
few studies from the vast body of literature on this topic.

        As defined in the literature, “[c]auses of price impacts unrelated to the event under study
are ‘confounding effects.’” 19 Many academic papers on the use of event studies in securities
litigation highlight the challenges posed by confounding effects. For example, a study notes: “an
event study is likely to be incapable of definitely resolving the question of price impact, and a
court considering a case involving confounding disclosures will have to determine the role of other
evidence in addressing the question.” 20 The same study concludes: “When multiple sources of
news are released at exactly the same time, however, no event study can by itself separate out
the effects of the different news.” 21




19
   Alon Brav and J.B. Heaton, “Event Studies in Securities Litigation: Low Power, Confounding Effects, and Bias,”
Washington University Law Review, Vol 93, No. 2 (2015), pp. 583-614.
20
   Jill E. Fisch, Jonah B. Gelbach, and Jonathan Klick, “The Logic and Limits of Event Studies in Securities Fraud
Litigation,” Texas Law Review, Vol. 96 (2018), pp. 553-624.
21
   Ibid.
                                                                                                                23
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        Similarly, another academic article observes:

        “At the end of the day, however, most stocks are routinely affected by events that
        may not be pinpointed by inspecting the media sources … As a result, courts may
        have excessively high expectations of the ability of litigants – whether plaintiff or
        defendant – to decompose an observed return into a component caused by fraud
        and a component caused by other factors. There simply is no fully reliable,
        mathematically precise way to do so.” 22 (citations omitted).


News Announcements on February 20, 2018

        In his loss estimation, in using MiMedx’s stock price drop on February 20, 2018, Dr.
Minkin fails to account for the various factors that contributed to the price decline that day. One
such key factor was that day’s announcement-induced elevated uncertainty about the company’s
viability and overall revenue. It is important to note, on that day neither the revenue inflation of
$8.26M for 2015 nor the $70.7M revenue inflation for 2014-17 was announced. In fact, there was
no specific news about revenue inflation announced by the company on that day.

        The pieces of news that were released through a press release by MiMedx on that day were
that the company was postponing the release of its financial results, as well as the filing of its Form
10-K, for the year ended December 31, 2017. 23 The press release also stated that “[t]he Audit
Committee of MiMedx's Board of Directors has engaged independent legal and accounting
advisors to conduct an internal investigation into current and prior-period matters relating to
allegations regarding certain sales and distribution practices at the Company.” 24 The company
stated further that it would not be in a position to release its financial results until the Audit
Committee's internal investigation is completed.

        This disclosure provided little clarity to the marketplace about the reasons for the delayed
financial results or the reasons for the Audit Committee’s actions. Instead, the announcements



22
   Alon Brav and J.B. Heaton, “Event Studies in Securities Litigation: Low Power, Confounding Effects, and Bias,”
Washington University Law Review, Vol 93, No. 2 (2015), pp. 583-614.
23
   “MiMedx Press Release, MiMedx Postpones Release of its Fourth Quarter and Fiscal Year 2017 Financial
Results,” PR Newswire, February 20, 2018, https://www.prnewswire.com/news-releases/mimedx-postpones-release-
of-its-fourth-quarter-and-fiscal-year-2017-financial-results-300601124.html.
24
   Ibid.
                                                                                                              24
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created considerable uncertainty about MiMedx’s viability as an ongoing business, especially in
light of the persistent negative commentaries by short-sellers in the preceding years, which
essentially characterized MiMedx as a house of cards, with little or no real revenue. The market’s
uncertainty about MiMedx’s business was evidenced by analyst community’s commentaries in the
period soon after the February 20 announcement.



Analysts’ Commentaries Regarding February 20, 2018 Announcements

        As a small cap stock, MiMedx was regularly followed only by a small group of investment
analysts mostly from independent boutique firms. The market’s reaction and elevated uncertainty
about the company’s future are summarized in the following commentaries from analysts in the
period shortly after the announcement:

Lake Street Capital Markets: “Whether one believes management or not, whether one believes the
shorts or not, the investigation represents a significant overhang until it is resolved, which
implies multiple compression.” 25

Craig-Hallum Capital Group: “As this is an independent investigation utilizing multiple parties,
management noted that the timeline is uncertain at this time.” 26

Lake Street Capital Markets: “This May Take A While: Downgrading Stock To HOLD Until
Internal Investigation Is Resolved. We believe that lack of demand for the stock means the shares
are unlikely to outperform until the investigation is resolved. And with the involvement of multiple
accounting firms and law firms, resolution is not likely to be swift, in our view.” 27

PiperJaffray: “MiMedx Group, Inc. (MDXG): Suspending Rating, Price Target, and Estimates
Until Investigations Completed. … The announcement today that the Department of Justice is
reviewing matters (albeit it is preliminary) in parallel with an SEC investigation, which is added
to an Audit Committee investigation regarding sales and distribution practices (leading to an
inability to file its form 10-K) is simply too much for us to digest at the moment.” 28


25
   Bruce D. Jackson, “MiMedx Group, Inc.: Audit Committee Requests Internal Investigation, Multiple
Compression to Follow, Lowering Price Target,” Lake Street Capital Markets, Institutional Equity Research,
February 21, 2018.
26
   Matt G. Hewitt, “MiMedx Group, Inc.: Management Addresses Concerns Regarding Internal Investigation and
Provides Operational Update, Craig-Hullum Capital Group LLC, Institutional Research, February 23, 2018.
27
   Bruce D. Jackson, “MiMedx Group, Inc.: This May Take a While: Downgrading Stock to Hold Until Internal
Investigation is Resolved,” Lake Street Capital Markets, Institutional Equity Research, February 23, 2018.
28
   “MiMedx Group, Inc. (MDXG): Suspending Rating, Price Target, and Estimates Until Investigation Completed,”
PiperJaffray, Company Note, March 15, 2018.
                                                                                                           25
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        The lack of clarity in MiMedx’s announcement on February 20, 2018 was criticized by one
of the crisis-communication experts interviewed by Wall Street Journal as follows: 29

Jolie Balido, President, Roar Media: “MiMedx could have better prepared...its communications
could have benefited by sounding less scripted and including important context, [such as]
government investigations, short-seller issues and that complaints by former employees are not
unique to MiMedx and not automatically indicative of corporate wrongdoing.”

        In light of the considerable uncertainty induced by company’s announcement on February
20, 2018, it is not surprising that MiMedx would experience a massive sell-off on that day, as
depicted in Exhibit 6 below. This uncertainty was also reflected in MiMedx’s single-day market
cap loss on February 20, 2018: it exceeded MiMedx’s entire revenue of for the years 2016 and
2017, which suggests that the stock market was skeptical about the existence of any meaningful
revenue for the company.

        However, it is equally important to note that when the uncertainty about MiMedx’s revenue
was resolved by the revenue restatement on March 17, 2020, its share prices rebounded gaining
nearly 120% by the year-end. In fact, by December 2020, MiMedx was trading at prices higher
than the average price during the period at issue, i.e., Q2-Q4 of 2015.




29
  “Crisis of the Week: Delayed Results Thrust MiMedx Into Spotlight,” Wall Street Journal, Risk and Compliance
Blog Commentary, March 12, 2018, https://www.wsj.com/articles/crisis-of-the-week-delayed-results-thrust-
mimedx-into-spotlight-1520873998.
                                                                                                            26
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Short Sellers’ Negative Commentaries on MiMedx

       As noted above, the February 20, 2018 stock drop was greatly accentuated by negative
short-selling commentaries in the period leading up to it. From 2014 onward, MiMedx’s stock
had been a constant target of short-sellers, which was evidenced by surging short interest and
numerous negative commentaries publicly disseminated by short sellers.            Some of the
commentaries did touch upon MiMedx’s dealing with the distributors at issue, CPM Medical, SLR
Medical, and Stability Biologics. However, the short sellers’ commentaries focused on topics well
beyond the conduct at issue, including: (a) MiMedx’s relationship with AvKARE, (a distributor
not at issue); (b) government investigations; (c) MiMedx’s regulatory, compliance, and legal
issues; (d) disparaging remarks about MiMedx’s employees; (e) personal attacks on MiMedx’s
CEO.

                                                                                              27
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         Below are some examples of activities and negative commentaries from short-sellers on
MiMedx’s stock from 2014 through February 20, 2018:

     •   On March 21, 2014, the owners of the StreetSweeper established a short position before
         publishing a report, titled “Will MiMedx And Its CEO Both Go Down In Flames?” 30

     •   In August 2017, through an investigation, the SEC settled with Deerfield Management, a
         New York-based hedge fund, for not appropriately controlling two healthcare analysts who
         had paid a CMS employee for confidential information related to dialysis companies.
         These two individuals are the same hedge fund analysts who followed MiMedx from 2012
         and “advanced various other short sale theses” on the company. 31 MiMedx claims that
         the same type of inside information could have been provided relative to “CMS pricing
         changes, FDA regulatory issues, or VA policy.” 32

     •   On August 21, 2017, the Capital Forum issued an article reporting on channel stuffing
         accusations in a counterclaim by former employee Kruchoski. The Capital Forum article
         states that “MiMedx used a distribution agreement with a supply contractor called
         AvKARE to facilitate and conceal the channel stuffing scheme.” 33 In MiMedx’s response
         to the shareholders dated November 30, 2017, this news service was deemed acting
         similarly to the short sell “shill” “Off Wall Street” which was involved with illegal short
         selling of Matria Healthcare in 2007. 34

     •   On September 20, 2017, Aurelius Value published a report titled, “MiMedx: Flying Too
         Close to the Sun,” which questioned whether MiMedx had engaged in improper channel




30
   The Street Sweeper, “Will MiMedx And Its CEO Both Go Down In Flames?” March 21, 2014, Seeking Alpha,
https://seekingalpha.com/article/2102513-will-mimedx-and-its-ceo-both-go-down-in-flames.
31
   MiMedx Press Release, “MiMedx Reports Further Developments in its Civil Litigation Against Former
Employees,” PR Newswire, September 7, 2017, https://www.prnewswire.com/news-releases/mimedx-reports-
further-developments-in-its-civil-litigation-against-former-employees-300515713.html.
32
   Ibid.
33
   “MiMedx: Channel Stuffing Accusations Resurface in Recent Counterclaim; Former Employees Corroborate
Allegations; A Close Look at Potential Risk,” The Capitol Forum, August 21, 2017.
34
    “Letter to Shareholder,” MiMedx, November 30, 2017.
                                                                                                          28
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         stuffing, based on Aurelius’ research including communication with a former MiMedx
         sales representative. 35

     •   Also on September 20, 2017, Viceroy Research issued a report titled, “MiMedx’s
         Employment of Kickback & Bribery Scheme Inducers Makes It Uninvestible.” 36 The
         article compiled non-public internal MiMedx documents, including excerpted
         communications between employees, which alleged that “Viceroy finds the MiMedx-
         AvKare supplier-distributor relationship extremely suspicious.” 37 The Viceroy report
         concludes, “…Viceroy believes MiMedx is valued at $0.” 38

     •   On September 27, 2017, “Aurelius Value” issued a report titled, “MiMedx: Undisclosed
         Details Undermine ‘Independent’ Investigation” claiming that the second internal
         investigation by the Audit Committee (“ACII”) was not independent. 39

     •   On October 24, 2017, Citron Research, helmed by short-seller Andrew Left, posted a
         YouTube video on the channel-stuffing allegations against MiMedx. 40 Citron Research
         also said in its research report that MiMedx used a “shadowy company in an unrelated
         industry to house MiMedx’s products.” 41 The report attempted to “accurately capture
         many dark sides of MiMedx” and concludes with a “$3 price target” for a company with
         “management conducting dirty business.” 42

     •   On October 26, 2017, short-seller Marc Cohodes wrote an “open letter” to CEO Pete Petit
         outlining allegations from a current employee regarding channel stuffing, among others. 43



35
   “MiMedx: Flying Too Close to the Sun,” Marcus Aurelius Value, September 20, 2017,
http://www.mavalue.org/research/mimedx-flying-close-sun/.
36
    “MiMedx’s Employment of Kickback & Bribery Scheme Inducers Makes it Uninvestable,” Viceroy Research
Group, September 20, 2017, https://viceroyresearch.files.wordpress.com/2017/10/mimedx-report-20-09-2017.pdf.
37
    Ibid.
38
    Ibid.
39
   Aurelius, “MiMedx: Undisclosed Details Undermine ‘Independent’ Investigation,” Seeking Alpha, September 27,
2017, https://seekingalpha.com/article/4109861-mimedx-undisclosed-details-undermine-independent-investigation
40
   “Citron Chimes in on MiMedx. Countdown to Formal Investigation. $3 Price Target,” Citron Research, October
24, 2017, containing a YouTube video link, https://www.youtube.com/watch?v=kVafBagmNg0. (The video has
since been deleted.)
41
   Ibid.
42
   Ibid.
43
   Marc Cohodes, Open Letter to Parker “Pete” Petit, October 29, 2017.
                                                                                                           29
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         He has also posted hundreds of tweets criticizing the company’s business in general and
         Petit personally. Specifically, he tweeted, “I will bury the little fella in a shoe box” and
         “Grab the Biggest Bat in the Bat Rack and Swing at $mdxg @viceroyresearch Good
         Luck Pepe.” 44 He laid out his criticism against MiMedx and Petit on a web page, “petite
         parker the barker.” 45 On December 1, 2017, Cohodes’s statements about MiMedx and
         Petit spurred an FBI visit to his home, which became public on January 12, 2018. 46

     •   On November 16, 2017, Viceroy Research Group issued a report entitled, “MiMedx
         vendors soliciting up-coding of Medicare incentives” claiming that MiMedx fraudulently
         exploited the insurance reimbursement system by manipulating the insurance codes used
         for medical procedures involving MiMedx products. 47 The Viceroy Report also claimed
         that MiMedx had pressured employees to not contact regulatory authorities and stated that
         “[t]his is a violation of the United States Code of Federal Regulations.”48

     •   On February 9, 2018, MiMedx was ranked among the top 20 most shorted stocks on the
         Nasdaq stock market as of the January 31, 2018 settlement date. 49

     •   On February 15, 2018, Aurelius Value issued an “open letter” to the MiMedx auditors
         regarding improper accounting practices amounting to a “serious and pervasive fraud.” 50

         In light of the concerted and repeated attacks from the short sellers, it is likely that many
market participants began to question whether MiMedx had any real revenue at all and whether it
was a house of cards with no earnings as crystallized in Viceroy Report’s comment on September




44
   Greg Farrell and Anders Melin, “Short-Seller Cohodes’s Tweets Spur FBI Visit, Free-Speech Gripes,”
Bloomberg, February 16, 2018, https://www.bloomberg.com/news/articles/2018-02-16/this-short-seller-pressed-
tweet-then-the-fbi-showed-up.
45
   Ibid, see also “As Parker Petite’s Trial is going on, MiMedx reported this disaster,” Petite Parker the Barker,
November 5, 2020, petiteparkerthebarker.com.
46
   Ibid.
47
   “MiMedx Vendors Soliciting Up-coding of Medicare Incentives,” Viceroy Research Group, November 16, 2017,
https://viceroyresearch.files.wordpress.com/2017/11/part-17-sec-submission.pdf.
48
   Ibid.
49
   “Largest Nasdaq Short Interest vs Free Float as of Jan. 31,” Bloomberg, February 9, 2018.
50
   “An Open Letter to the MiMedx Auditors,” Marcus Aurelius, February 15, 2018,
http://mavalue.org/research/open-letter-mimedx-auditors/.
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20, 2017: “MiMedx is valued at $0.” 51 Thus, it is plausible that at the hint of negative news as
contained in MiMedx’s February 20, 2018 announcement, market participants would rush to dump
MiMedx’s stock, which was evidenced by the precipitous price drop on that day. However, as I
discuss next, the price drop was also exacerbated by the massive short interest (commensurate with
the pervasive negative commentaries of short sellers) in MiMedx’s stock.


Massive Short Interest and Its Effects

         Prior to February 20, 2018, the short interest (represented by short sales as percent of all
public shares available to trade, i.e. the float) for MiMedx’s stock was extremely high. In line with
the short-sellers’ campaign, short interest in MiMedx rose sharply between 2013 and 2018.
Starting at less than 1% in January of 2013, short interest in MiMedx increased steadily during the
next four years, experiencing accelerated growth during the second half of 2017 as it doubled from
20% in July to 40% by November of 2017. This sharp increase in short interest was likely
perceived as a negative signal by MiMedx’s investors 52 making the stock susceptible to a sudden
and outsized negative reaction to any bad news. This was particularly true for a small cap stock
like MiMedx.

         According to a commentary published on the SEC website: “[i]t is widely agreed that
excessive short sale activity can cause sudden price declines, which can undermine investor
confidence, depress the market value of a company’s shares and make it more difficult for that
company to raise capital … short selling causes price declines which in turn shake the
confidence of long term holders who then sell and prolong the downward price trend regardless
of underlying fundamentals …” 53




51
   “MiMedx’s Employment of Kickback & Bribery Scheme Inducers Makes it Uninvestable,” Viceroy Research
Group, September 20, 2017, https://viceroyresearch.files.wordpress.com/2017/10/mimedx-report-20-09-2017.pdf.
52
   According to Investopedia, “[a] large increase or decrease in a stock’s short interest from the previous month can
be a very telling indicator of investor sentiment. … A high short-interest stock should be approached with extreme
caution …”. See “What Short Interest Tells Us,” Investopedia, accessed January 28, 2021,
https://www.investopedia.com/articles/01/082201.asp.
53
   Walter Cruttenden, “Shorting America,” US Securities and Exchange Commission, accessed January 28, 2021,
https://www.sec.gov/comments/4-627/4627-95.pdf.
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        Furthermore, a study using data from Nasdaq found that “firms with a high level of short
interest experience negative and significant abnormal returns when they are heavily shorted.” And
“heavily shorted firms are more likely to be liquidated or delisted in the 36 months after being
heavily shorted.” 54 The pernicious effects of short squeezes and the resulting meteoric rise in
prices untethered from economic fundamentals and the subsequent crashes were most recently
displayed by price volatility of heavily shorted companies such as GameStop and AMC. 55,56

        Exhibit 7 shows that the rising short interest in MiMedx (red line) generally coincided with
the level short interest of other comparable companies (black line) between 2013 and 2015.
MiMedx’s share prices are depicted by the dotted blue line in this exhibit. Starting from 2016,
however, the short interest in MiMedx started outstripping that of competing firms. The short-
interest in MiMedx peaked in the period leading up to February 20, 2018, with MiMedx’s stock
ranked as one of the most shorted stocks on the NASDAQ market, as of January 31, 2018. 57




54
   Hemang Desai, K. Ramesh, S. Ramu Thiagarajan, and Bala V. Balanchandran, “An investigation of the
Informational Role of Short Interest in the Nasdaq Market,” The Journal of Finance, Vol. 57, No. 5 (2002), pp.
2263-2287.
55
   “The GameStop Short Squeeze Shows an Ugly Side of the Investing World,” Wall Street Journal, January 27,
2020, https://www.wsj.com/articles/gamestop-stock-short-squeeze-ugly-side-11611750250.
56
   Jason Gewirtz, “GameStop head-spinning volatility may be only the beginning of a new wave,” CNBC, January
28, 2021, https://www.cnbc.com/2021/01/28/gamestop-head-spinning-volatility-may-be-only-the-beginning.html.
57
   “Largest Nasdaq Short Interest vs Free Float as of Jan. 31,” Bloomberg, February 9, 2018.
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        The massive short interest in MiMedx also had a perverse effect of boosting its stock prices
resulting from ‘short squeeze.’ This market phenomenon is widely recognized by industry and
regulatory authorities. According to the SEC, “[t]he term ‘short squeeze’ refers to the pressure on
short sellers to cover their positions as a result of sharp price increases or difficulty in borrowing
the security the sellers are short. The rush by short sellers to cover produces additional upward
pressure on the price of the stock, which then can cause an even greater squeeze.” 58

        The pattern of short interest and stock prices (dotted line) for MiMedx shown in Exhibit 6
suggests that a short squeeze first occurred in mid-2017, as evidenced by the run-up in MiMedx’s




58
  “Key Points About Regulation SHO,” U.S. Securities and Exchange Commission, accessed January 25, 2021,
https://www.sec.gov/investor/pubs/regsho.htm.
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stock prices and the temporary drop in short interest at the same time. In this period, short interest
dropped from 28% as of March 31, 2017 to 20% as of July 14, 2017 while MiMedx stock rose
62% over the same period. The second short squeeze is evidenced in late 2017. Similarly, the
nearly 55% surge in MiMedx’s stock price in December 2017 through the end of January 2018,
forced some short sellers to cover their positions; as a result, the short interest in MiMedx
decreased from 40% in December of 2017 to 36% at the beginning of February of 2018. In other
words, the large price drop on February 20, 2018 was, in part, caused by the rapid price rise that
preceded it, induced largely by a short squeeze. However, a portion of the rapid MiMedx’s stock
price increase since the middle of 2017 was also driven by positive news about its revenue and
earnings, which are unrelated to the revenue inflation at issue.

       To summarize, MiMedx’s announcements on February 20, 2018 injected considerable
uncertainty about whether the company had any real revenue in light of the persistent negative
commentaries from short sellers, which essentially characterized MiMedx as a worthless company.
These commentaries focused on a whole host of topics beyond the conduct at issue, including
MiMedx’s dealing with AvKARE, a distributor not at issue. Furthermore, the sustained attacks
from the short sellers and the huge short interest made MiMedx’s stock highly sensitive to negative
news and susceptible to a sudden drop. Finally, the sudden increase in the stock price around the
end of 2017 forced some short sellers to purchase MiMedx shares as they covered their short
positions to limit losses. This generated a short squeeze and further drove the price up. Thus, the
rapid and large run-up in MiMedx’s stock in the preceding months was an important contributing
factor for the large price drop on February 20, 2018.

       Dr. Minkin makes no attempt to disentangle the effect of the revenue inflation at issue (i.e.,
$8.26M) from the effects of these other factors that contributed to the stock price drop on February
20, 2018. Admittedly it is unclear whether it is at all possible to quantify which portion of the
price drop on that day is attributable to the revenue inflation at issue (especially because it was not
even announced on that day) versus these other factors.




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D.      DR. MINKIN CHOSE THE INCORRECT DISCLOSURE DAY

        As noted earlier, neither the revenue inflation at issue ($8.26M) nor the extent of any
revenue inflation for any years was disclosed on February 20, 2018. Yet, Dr. Minkin incorrectly
chose February 20, 2018 as the relevant ‘corrective disclosure’ date. His loss calculation is based
on revenue inflation of $70.7M for the years 2014-2017; however, this revenue inflation was not
known on February 20, 2018 (the date he chose to estimate the share price impact); it was disclosed
to the marketplace on March 17, 2020. He does not make any attempt to examine MiMedx's price
response in the period after March 17, 2020.

        While Dr. Minkin’s loss calculation is based on several erroneous assumptions, as
discussed earlier in my report, fixing only one error (that is, changing the relevant disclosure date
to March 17, 2020 instead of February 20, 2018) but leaving all his other erroneous assumptions
unchanged reduces the shareholder loss figure from $34.6M to $192K. This calculation is
discussed next.



E.      EFFECT OF CHOOSING THE APPROPRIATE DISCLOSURE DAY

        As a first step, I calculate the average price of MiMedx in the 90-day window 59 after the
corrective disclosure on March 17, 2020. Since the disclosure about the revenue inflation for the
years 2014-16 and three quarters of 2017 was announced via MiMedx’s 10K filing after the
market’s close on March 17, 2020, I have calculated the 90-day average price using the window
March 18 through July 24, 2020. I find this average price to be $4.11. The closing price for




59
  The choice of the average price over a 90-day window is generally consistent with an approach referenced in the
Sentencing Guideline. See United States Sentencing Commission, Guidelines Manual, §3E1.1 (Nov. 2018),
specifically §2B1.1, comment. (n.3)(F)(ix).
                                                                                                                35
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MiMedx’s stock on March 17, 2020 (i.e., before the revenue inflation was announced) was $4.14.
Thus, I estimate the impact of the disclosure was $0.03. 60

             In Exhibit 8, I follow Dr. Minkin’s erroneous approach of apportionment of $0.03 impact
based on the ratio of $8.26M revenue inflation at issue to the total inflation of $70.74M for the
years 2014-2017. This yields a per share price inflation of $0.0036, as shown in the highlighted
row and the last column in Exhibit 8.

Exhibit 8. Allocation of $0.03 Price Drop Across Restated Periods January 1, 2015 - September 30, 2017

                        [1]            [2]             [3]             [4]        [5] = [4] / 70,744         [6] = [5] x $0.03             [7]            [8]               [9] = [7] x ([8] / [3])

                      Net Sal es , t hou s an ds ( Reven u e)                    Cal c u l at i on of In c rem en t al P ri c e In f l at i on                  Val u e of Frau d per Share

                                                                    Cumulative                             Cumulative Price       Incremental Price    Fraudulent
                                                                                   Cumulative Net                                                                      Incremental Price Inflation per
                     Previously                    Revenue          Net Sales                                Inflation Per          Inflation as of     Revenue
Reported Period                     Restated                                      Sales Adjustment,                                                                         Share Due to Fraud
                     Reported                    Overstatement     Adjustment                                 Share as of          Period Reporting   Recognition
                                                                                      % of Total                                                                              down to $0.01)
                                                                   (thousands)                              Reporting Day                 Day         (thousands)
     2014            $118,223      $105,257        $12,966          $12,966             18.3%                         $0.01              $0.01             $0                       $0.000
     2015            $187,296      $153,131        $34,165          $47,131             66.6%                         $0.02              $0.01         $8,262                      $0.0036
     2016            $245,015      $221,712        $23,303          $70,434             99.6%                         $0.03              $0.01             $0                       $0.000
  Q1-Q3 2017         $233,592      $233,282          $310           $70,744             100.0%                        $0.03              $0.00             $0                       $0.000


Source: Expert Report of Dr. Artur Minkin, dated February 9, 2021, Exhibit 3




             Finally, in Exhibit 9, I use the exact figures used by Dr. Minkin for his estimates of net
purchases by shareholders and compute the aggregate shareholder harm by multiplying the per-
share inflation amount by the net purchases, shown in the last column of Exhibit 9. As shown at
the bottom of this table, the aggregate amount of the shareholder harm, based on Dr. Minkin’s
erroneous methodology is $192,750.




60
   It is inappropriate to use a traditional event-study approach (which assumes market efficiency) in calculating the
impact of the revenue inflation disclosure on March 17, 2020, because by that time MiMedx had been delisted from
the NASDAQ exchange and was trading as an over-the-counter (“OTC”) stock. A SEC study notes: “[a]cademic
studies find that OTC stocks tend to be highly illiquid; are frequent targets of alleged market manipulation;
generate negative and volatile investment returns on average; and rarely grow into a large company or transition to
listing on a stock exchange.” Joshua White, “Outcomes of Investing in OTC Stocks,” U.S. Securities and Exchange
Commission, Division of Economic and Risk Analysis (DERA), December 2016, https://www.sec.gov/dera/staff-
papers/white-papers/16dec16_white_outcomes-of-investing-in-otc-stocks.html. Thus, OTC stocks are unsuitable for
event study analysis because one of the fundamental requirements of a valid event study is that the stock in question
be traded in an efficient market. See, for example, Robert G. Brown, “Understanding and Conducting Event
Studies,” Journal of Business Finance & Accounting, Vol. 10, No. 4 (1983), pp. 561-584.
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       There are several factual aspects of the MiMedx matter that distinguish it from other typical
stock drop cases. First, on February 20, 2018, the revenue inflation at issue was not disclosed.
Second, even if one acknowledges that there was a partial corrective disclosure on that day, various
factors unrelated to the conduct at issue affected that day’s stock drop, making it impossible to
disentangle the effect of the revenue inflation in 2015. Third, when the revenue restatement was
announced nearly five years after the period at issue, it was for the years 2014 through 2017; and
even for 2015, the amount of the revenue restatement far exceeded the $8.26 million revenue
inflation at issue. Finally, because of the demonstrated absence of a relationship between revenue-
related events and share price reaction for MiMedx’s stock, it is impossible to determine what the
price impact and shareholder loss, if any, would have been had MiMedx missed revenue guidance
in a single quarter in 2015. Therefore, I conclude that, in this matter, it is not possible to compute
shareholder losses attributable to the conduct at issue with any degree of certainty.
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F.         A SUMMARY OF MR. PETIT AND MR. TAYLOR’S GAINS

           I have been asked by counsel to review and summarize the evidence proffered at trial
regarding the gains realized by Mr. Petit and Mr. Taylor from cash bonuses received as a result of
the inflated revenue at issue. Exhibit 10 contains this summary. The gain for Mr. Petit ranges
between $165,224 and $202,436. The gain for Mr. Taylor ranges between $125,208 and $153,408.



Exhibit 10. Measure of Defendants' Gains Attributable to 2015 Revenue Inflation

                       2015 Actual                       2015 'But-for' Bonus Payout
                      Bonus Payout                        Without Revenue Inflation               Gains or Losses
                         Based on
     Defendant           Reported                Lower Bound                Upper Bound   Lower Bound       Upper Bound
                         Revenue

Petit                     $517,254                  $314,818                  $352,030     $165,224           $202,436

Taylor                    $391,980                  $238,572                  $266,772     $125,208           $153,408

Source: Government Exhibit 50, 19 CR. 850 (JSR), p. 1.




      Respectfully Submitted,



      Atanu Saha

      Date: February 12, 2021



      Atanu Saha

      Date: February 12, 2021




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APPENDICES




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                                                      Atanu Saha
                                                      Ph.D.
                                                      Partner

                                                      Los Angeles                           New York
                                                      2029 Century Park East                17 State Street
                                                      Suite 400                             2nd Floor
                                                      Los Angeles, CA 90067                 New York, NY 10004

                                                      T: +1 213 459 1830                    T: +1 212 430 3400
                                                      E: asaha@stoneturn.com




Atanu Saha, a Partner with StoneTurn, has over 25 years of                                     Education
experience in the application of economics and finance to complex                              Ph.D., University of
                                                                                               California—Davis
business issues. He has served as an expert witness in numerous
                                                                                               M.A., University of Alberta,
securities matters, and provided testimony in disputes related to                              Canada
antitrust, patent infringement, valuation of investment portfolios
and commercial damages.                                                                        Practice Areas
                                                                                               Litigation Advisory
An expert witness in matters involving securities fraud, market manipulation, and 10b-
5 claims, Atanu’s research on securities litigation issues has been cited by the U.S.            Securities and Finance
Court of Appeals for the 11th Circuit. He applies considerable expertise in the energy,          Business Disputes
financial services and healthcare sectors, as well as a specialization in data analytics,
to assist clients across a range of industries with data-driven insights.                        Competition & Class Actions

                                                                                                 Expert Testimony
Prior to joining StoneTurn, Atanu served as Managing Director at Econ One
                                                                                                 Intellectual Property
Research, where he was the head of the firm’s finance and securities practice.
Earlier in his career, he co-founded Data Science Partners, as well as held senior             Valuation Advisory
positions at other consulting firms, including Analysis Group, Alix Partners and
                                                                                               Data Analytics
Compass Lexecon. In addition, Atanu was a tenure-track professor at Texas A&M
University where he taught Ph.D.-level courses in econometrics and applied
economics.


Atanu is the author of numerous refereed journal articles, monographs and book
chapters and his research has been cited in various publications, including The Wall




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Street Journal, The Economist, and The New York Times. He is the recipient of the prestigious Graham and Dodd Award
for financial research.


PREVIOUS EXPERIENCE
•   Managing Director, Econ One Research, Inc. (2018-2020)
•   Co-Founder and Chairman, Data Science Partners (2015-2018)
•   Executive Vice President, Compass Lexecon (2009-2015)
•   Managing Director, Alix Partners (2006-2009)
•   Managing Principal, Analysis Group, Inc. (1998-2006)
•   Sr. Economist, Micronomics (1995-1998)
•   Faculty Member, Texas A&M University (1991-1995)


ACCOLADES
•   Recipient, Graham and Dodd Award, “Best Perspectives Paper 2005” for “Hedge Funds: Risk and Return,” with B.
    Malkiel, Financial Analysts Journal, December 2005, 80-88.


TESTIMONIAL EXPERIENCE
Antitrust and Damage Analysis
•   Arthur Garabedian v. Los Angeles SMSA et al. — Expert report and testimony regarding pricing conditions in the cellular
    communications industry. The class action lawsuit involved price fixing charges against LA Cellular and AirTouch.
•   Michael A. Lobatz, M.D. v. Airtouch Cellular Company and U.S. West Cellular of California, Inc. — Expert analysis to
    evaluate the joint settlement between plaintiff class and AirTouch and US West.
•   Beer Antitrust Litigation — Expert report and testimony regarding pricing conditions in the beer industry. Econometric
    analysis of beer prices charged by Anheuser Busch to its distributors.
•   Industrial Ferrosilicon Antitrust Litigation — Expert report regarding the pricing conditions in the international
    ferrosilicon market. The litigation involved price-fixing allegations.
•   EMC Corporation v. Mann and Karrat — Expert report and testimony based on economic analysis to determine whether
    or not the memory storage products of EMC and StorageApps compete in the same product market.
•   EMC Corporation v. D. Kempel — Expert report determining whether or not the products of EMC and SANgate Systems
    compete in the same product market.
•   Liebel-Flarsheim Co. v. Medrad, Inc. — Expert report and testimony regarding “Kodak-type” issues in the fore and after
    markets for power injectors.


Securities Pricing and Valuation
•   County of Orange v. McGraw-Hill Companies, Inc., d/b/a Standard & Poors — Expert witness and testimony for the
    defendant, Standard & Poors. Assignment included evaluation of the investment strategy implemented by Orange
    County in its investment pool and the estimation of damages, if any, caused by the allegedly erroneous S&P ratings
    of Orange County’s debt.




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•   Granite Partners et al. v. DLJ and ML et al. — Expert witness and testimony to evaluate damages suffered by the Askin
    Funds (Granite Partners, Granite Corporation and Quartz Hedge Funds) as a result of the liquidation of assets
    composed of CMOs.
•   EMC Corporation v. Joanna T. Karwowksa — Expert report and testimony regarding the valuation of Employee Stock
    Options (ESOs).
•   Amado Lopez v. Lehman Brothers et al. — Arbitration before NASD Panel; testimony regarding the valuation of bonds.
•   Olson v. Halvorsen et al. — Expert witness and testimony regarding fair value of Viking Global, a hedge fund, and
    rebuttal damage analysis.
•   Amaranth Natural Gas Commodities Litigation — Expert analyses and testimony regarding class certification and
    merits issues in natural gas futures price manipulation claim.
•   Platinum and Palladium Commodities Litigation — Expert analysis of platinum and palladium prices in response to
    commodity and futures price manipulation claims.
•   IRS v. Presidio Advisory Services et al. — Expert witness and testimony regarding ‘economic substance’ of certain
    investment strategies.
•   SEC v. Hedge Fund — Expert rebuttal analysis of SEC’s allegations regarding certain trading practices of a hedge fund.
•   SEC v. optionsXpress, Inc — Expert analysis and testimony on behalf of Charles Schwab regarding options
    transactions and Reg SHO issues.
•   Street Retail Inc., et al. v. Vornado Realty Trust, et al. — Expert analysis and testimony on behalf of Vornado regarding
    valuation of real estate assets.
•   MKP Master Fund v. Salomon Smith Barney (SSB) — Analysis of damages arising from the liquidation of the portfolio
    which occurred as a result of the margin calls faced by the hedge fund from its prime broker, SSB.
•   Eagle Cayman Fund v. Salomon Smith Barney — Analysis of damages arising from the liquidation of the portfolio when
    the hedge fund failed meet the margin calls by SSB.


Securities Pricing and Securities Class Action Matters
•   Charles Fargo, et al. v. Joseph McCartney, et al. — Expert witness and testimony for counsel for the defendant, Osicom
    Technologies, in a Rule 10b-5 litigation.
•   Towers Securities Litigation — Expert analysis and testimony; event study analysis of Tower’s share prices in a Rule
    10b-5 class action litigation; rebuttal damage analysis.
•   Greenfield Online Securities Litigation — Expert analysis regarding damage exposure in a Rule 10b- 5 matter.
•   Jabil Circuits Option Backdating Inquiry — Expert analysis on behalf of the Special Committee investigating whether
    the stock options granted to the executives of the firm were backdated.
•   Robert Bains, et al. v. Moores, et al. — Expert rebuttal analysis of damages arising from the fall of Peregrine’s share
    prices and event study analysis of Peregrine’s stock price movement.
•   WorldCom Securities Litigation — Analysis on behalf of defendant Citi Bank; event-study analysis of the impact, if any,
    of securities analysts’ reports on the share prices of WorldCom in a Rule 10b-5 litigation.
•   Freddie Mac Securities Litigation — Analysis on behalf of defendant Freddie Mac; event-study analysis and estimation
    of potential damages exposure in a Rule 10b-5 litigation.
•   Ahold Securities Litigation — Analysis on behalf of defendant Ahold; event-study analysis and estimation of potential
    damages exposure in a Rule 10b-5 litigation.




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•   Global Crossing Securities Litigation — Analysis on behalf of defendant Citi Bank; event-study analysis of the impact,
    if any, of securities analysts’ reports on the share prices of Global Crossing in a Rule 10b-5 litigation.
•   Bank of America Securities Litigation — Analysis on behalf of defendant Bank of America; event-study analysis of the
    impact, if any, of alleged corrective disclosures in a Rule 10b-5 litigation.
•   DeMarco v. Lehman Brothers — Analysis on behalf of defendant Lehman Brothers; event-study analysis of the impact,
    if any, of securities analysts’ reports on the share prices of RealNetworks in a Rule 10b-5 litigation. Class certification
    was denied by Judge Rakoff of SDNY.
•   Madoff Litigation — Expert analysis on behalf of Securities Investor Protection Corporation (SIPC) Trustee for the
    liquidation of Bernie L. Madoff Investment Securities. Data analyses to examine whether Madoff’s investment returns
    were ‘too good to be true.’
•   The International Projects Development v. Oxbo Carbon & Minerals, et al. — Expert rebuttal report and damages
    analysis in an ICC Arbitration matter.
•   Polkomtel S.A. v. SiCap AG — Expert analysis and testimony in an ICC Arbitration matter.
•   SEC v. Thomas Fisher, et al. — Expert analysis of damages resulting from alleged inflation of Nicor stock prices.
•   IRS v. Renaissance Technologies — Expert reports regarding the economic implications of certain option contracts.
•   Kathryn Hyland et al. on behalf of all others similarly situated v. Navient Corporation — Expert report and quantification
    of damages suffered by student loan borrowers, who borrowed under the PSLF program.


Pharmaceutical Litigation
•   Warfarin Sodium Antitrust Litigation — Expert report regarding pricing conditions and potential consumer savings in
    the market for Coumadin and its generic substitute.
•   Cardizem CD Antitrust Litigation — Expert reports and testimony regarding pricing conditions, drug substitution rates
    and consumer savings in the market for brand name and generic pharmaceutical drugs.
•   Lorazepam and Clorazepate Antitrust Litigation — Expert reports and testimony regarding the economic impact of
    vertical supply agreements between a generic manufacturer of two pharmaceutical products and an active ingredient
    supplier for these products.
•   Vitamin Antitrust Litigation — Expert analysis regarding the pricing conditions in the market for vitamin C. The litigation
    involved price-fixing allegations.
•   Medicis Pharmaceutical Corporation v. Actavis Mid Atlantic LLC — Expert analysis and testimony regarding damages
    to brand franchise due to early generic entry.
•   Robert Bishop, et al. v. Kowa Pharmaceuticals America, Inc. — Expert analysis regarding valuation of a privately held
    pharmaceutical firm.
•   Pharmaceutical Product Development, LLC v. TVM Life Science Ventures VI, L.P., et al. — Expert analysis regarding
    valuation of privately held pharmaceutical firm.
•   Janssen Biotech et al. v. Celltrion and Hospira. — Expert analysis and testimony on behalf of Pfizer regarding the entry
    of biosimilar substitute for the biologic drug Remicade in the U.S. market.
•   Genentech and City of Hope et al. v. Sandoz. — Expert analysis on behalf of Sandoz regarding the entry of biosimilar
    substitute for the biologic drug Rituxan in the U.S. market.
•   PhRMA v. Robert P. David, Director of the California Office of Statewide Health Planning and Development. -- Expert
    analysis on behalf of CA AG’s office regarding the economic implications of SB17, and difference between WAC and
    transaction prices.




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ERISA Litigation
•   Freddie Mac ERISA Litigation — Expert analysis on behalf of defendant Freddie Mac. Comparative performance
    analysis of the retirement portfolio of Freddie Mac’s employees. Rebuttal analysis of class action claims.
•   NUI ERISA Litigation — Expert analysis on behalf of NUI. Rebuttal analysis of class action plaintiffs’ damage claim.
•   The Southern Company ERISA Litigation — Expert analysis on behalf of The Southern Company. Rebuttal damage
    analysis based on individual employee’s investment decisions.
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   Table 1: Boomberg-Identified 30 Biotechnology Stocks Considered for Industry Index

             No.                  Ticker                              Company Name
              1            ADVM             ADVERUM BIOTECHNOLOGIES INC
              2            AKRO             AKERO THERAPEUTICS INC
              3            ALEC             ALECTOR INC
              4            AMTI             APPLIED MOLECULAR TRANSPORT
              5            ANNX             ANNEXON INC
              6            ATNX             ATHENEX INC
              7            BDTX             BLACK DIAMOND THERAPEUTICS I
              8            CHRS             COHERUS BIOSCIENCES INC
              9            CRTX             CORTEXYME INC
              10           ENTA             ENANTA PHARMACEUTICALS INC
              11           EPZM             EPIZYME INC
              12           ESPR             ESPERION THERAPEUTICS INC
              13           FHTX             FOGHORN THERAPEUTICS INC
              14           FPRX             FIVE PRIME THERAPEUTICS INC
              15           FREQ             FREQUENCY THERAPEUTICS INC
              16           HGEN             HUMANIGEN INC
              17           ICPT             INTERCEPT PHARMACEUTICALS IN
              18           ITOS             ITEOS THERAPEUTICS INC
              19           KPTI             KARYOPHARM THERAPEUTICS INC
              20           KRYS             KRYSTAL BIOTECH INC
              21           MORF             MORPHIC HOLDING INC
              22           ORGO             ORGANOGENESIS HOLDINGS INC
              23           PASG             PASSAGE BIO INC
              24           PTGX             PROTAGONIST THERAPEUTICS INC
              25           RDUS             RADIUS HEALTH INC
              26           RNA              AVIDITY BIOSCIENCES INC
              27           SNDX             SYNDAX PHARMACEUTICALS INC
              28           STRO             SUTRO BIOPHARMA INC
              29           TCRR             TCR2 THERAPEUTICS INC
              30           TSHA             TAYSHA GENE THERAPIES INC

   Source: Bloomberg


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APPENDIX C

   Table 2: 25 Largest Single-Day MiMedx Stock Price Changes, 2013 - 2017

                                     Adjusted Price
         No.          Date                                                                                 Event Details
                                        Change 1
          1              4-Sep-13         -46.2%          MiMedx receives the FDA "Untitled Letter" indicating unlawful manufacturing of drugs at one of its plants
          2             29-Oct-15         -26.1%          MiMedx receives the restrictive FDA graft guidance for homologous use of its products
          3              2-Jan-15         -17.5%          MiMedx receives a subpoena from HHS and announces a lawsuit against a competitor
          4             13-Oct-15         -13.6%          MiMedx parts ways with a distributor (CPM), negatively impacting Q3 2015 results by $2-3 million
          5            14-Mar-13          -13.4%          Significant short selling activity triggered by rumors on social media
          6             23-Oct-17         -11.3%          An underweight analyst suspended MDXG price target and a short seller calls for CEO Petit to resign
          7            21-Mar-14          -10.6%          MiMedx stock drops after Short-seller, Streetsweeper, mention
          8             30-Jul-15         -10.5%          MiMedx lowers year operating margin to range of 12% to 14%
          9            19-Nov-15          -10.2%          MiMedx presents at Canaccord Genuity Medical Technology and Diagnostics Forum
         10            15-Mar-13          -10.0%          Significant short selling activity triggered by rumors on social media
         11              6-Sep-13          -9.5%          Several law firms announce the investigation of potential claims against MiMedx
         12              3-Oct-17          -8.8%          MiMedx credit pact extended until Oct 2019 from Oct 2018
         13             24-Oct-17          -8.8%          MiMedx is mentioned cautiously by an analyst due to its "dirty business"
         14             21-Oct-13           8.8%          MiMedx announces that the meeting with the FDA to discuss the "Untitled Letter" was postponed
         15            24-Mar-15            8.9%          DOJ declines to intervene in action against MiMedx
         16             14-Oct-14           9.3%          MiMedx reaches operating profit for Q3 2014
         17            26-Feb-15            9.4%          MiMedx reaffirms Q1 2015 views, Q4 2015 revenue beats, EPS misses by $0.01
         18             15-Oct-14          10.5%          MiMedx reaches operating profit for Q3 2014
         19             28-Apr-17          10.8%          MiMedx beats Q1 2017 EPS estimates, $0.07 vs. Est. $0.06
         20           17-Dec-15 2          11.7%          MiMedx raises repurchase program by $10m to $60m and expects FY 2016 EPS $0.31 to $0.35, Est. $0.26
         21             29-Jul-14          12.0%          MiMedx expects to record an operating profit in Q3 2014
         22            12-Dec-13           12.3%          MiMedx receives additional Medicare reimbursement coverage for one of its products
         23              1-Oct-13          12.9%          MiMedx signs distribution agreement with Medtronic
         24            18-Mar-13           13.0%          MiMedx responds to inquiries of abnormal trading activity and reiterated first quarter and full year goals
         25              5-Sep-13          18.0%          MiMedx disputes the FDA "Untitled Letter"

   Source: Bloomberg
   Notes:
   1
     denotes daily MDXG returns adjusted for market and industry factors over the period of 2013 - 2017.
   2
       denotes two equally-weighted events: MiMedx raises repurchase program and expects stronger earnings for FY 2016.


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